                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                          Plaintiff,          )
                                              )
        v.                                    ) Criminal Action No. 18-00293-CR-W-DGK
                                              )
STEPHANIE THURMOND,                           )
                                              )
                          Defendant.          )

                                            ORDER

        On March 4, 2020, defendant appeared with her appointed counsel for the purpose of

allowing the her to show cause why her bond should not be revoked for alleged violations of her

pretrial release.   Defendant advises she wishes to voluntarily surrender the $10,000, with 10%

($1,000) cash deposit, Appearance Bond approved by the Court on December 21, 2018.          It is,

therefore,

        ORDERED that the $10,000, with 10% ($1,000) cash deposit, appearance bond executed

by the defendant on January 15, 2019, be surrendered.    The defendant is remanded to the

custody of the United States Marshal.    It is further

        ORDERED that the Release Order executed December 21, 2018, be, and it is hereby,

vacated and set aside.

                                               /s/ John T. Maughmer
                                              JOHN T. MAUGHMER
                                              United States Magistrate Judge
Kansas City, Missouri
March 4, 2020




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